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NEM:SP

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X
                                                       TO BE FILED UNDER SEAL
UNITED STATES OF AMERICA
                                                       COMPLAINT AND AFFIDAVIT
             - against -                               IN SUPPORT OF APPLICATION
                                                       FOR ARREST WARRANT
JUAN TEJEDA,
                                                       (18 U.S.C. § 751(a))
                           Defendant.
                                                       Case No. 24 MJ 318
---------------------------X

EASTERN DISTRICT OF NEW YORK, SS:

                DAVID VIZHNAY, being duly sworn, deposes and states that he is a Deputy

United States Marshal with the United States Marshals Service, (“USMS”) duly appointed

according to law and acting as such.

                On or about April 22, 2024, within the Eastern District of New York and

elsewhere, the defendant JUAN TEJEDA, having been convicted of an offense, did knowingly

and intentionally escape from the custody of the Attorney General or his authorized

representative.

                (Title 18, United States Code, Section 751(a))

                The source of your deponent’s information and the grounds for his belief are as

follows: 1




       1
               Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, I have not described all relevant facts and circumstances
of which I am aware.
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                                                                                           2

              1.     On or about August 21, 2020, the defendant JUAN TEJEDA pleaded

guilty in the Southern District of New York to one count of conspiracy to distribute crack

cocaine in violation of 21 U.S.C. § 846. See United States v. Juan Tejeda, No. 19-CR-761

(JPO) (S.D.N.Y. August 21, 2020). On or about April 12, 2021, the Honorable J. Paul Oetken,

United States District Judge for the Southern District of New York, sentenced TEJEDA to 60

months of imprisonment to be followed by four years of supervised release. See Judgment,

United States v. Juan Tejeda, No. 19-CR-761 (JPO) (S.D.N.Y. filed April 12, 2021).

              2.     On or about August 2, 2023, TEJEDA arrived at Brooklyn RRC, a

residential reentry center in Brooklyn, New York, after being transferred from the Federal

Correctional Institution, Terre Haute in Terre Haute, Indiana. TEJEDA was not scheduled to

be released from the Brooklyn RRC until May 28, 2024.

              3.     On or about April 21, 2024, at or around 8:45 p.m., TEJEDA left the

Brooklyn RRC with approval to work at an offsite location in Brooklyn, New York with a

curfew to return on April 22, 2024 at 8:30 a.m. TEJEDA did not return in accordance with

his curfew. A Brooklyn RRC staff member was able to make contact with TEJEDA on April

22, 2024 at approximately 8:40 a.m. and TEJEDA stated that he was approximately two blocks

away from the Brooklyn RRC. However, after approximately thirty minutes had passed,

TEJEDA had not returned to Brooklyn RRC. After TEJEDA did not return to Brooklyn RRC,

at approximately 9:10 a.m., I attempted to contact TEJEDA via telephone with the same

number that Brooklyn RRC staff had used to make contact with TEJEDA earlier that day, but

I was unsuccessful. At approximately 12:52 p.m., TEJEDA contacted the USMS from the

same telephone number that Brooklyn RRC and I had used to contact him. TEJEDA informed

the USMS that he would self-surrender no later than 4:00 p.m. on April 22, 2024.   No contact
                                              2
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                                                                                               3

thereafter has been made as of the date of the filing of this Complaint, and TEJEDA has not

self-surrendered, returned to Brooklyn RRC or made any contact with Brooklyn RRC staff.

              4.     I respectfully request that this Court issue an order sealing, until further

order of the Court, all materials submitted in support of this application, including the

application and arrest warrant. Premature disclosure of these materials would give TEJEDA

an opportunity to change patterns of behavior and to continue fleeing from or evading

prosecution. Therefore, such disclosure would have a significant and negative impact on the

continuing investigation and may severely jeopardize its effectiveness.

              WHEREFORE, your deponent respectfully requests that a warrant issue for

the arrest of the defendant JUAN TEJEDA so that he may be dealt with according to law.



                                           DAVID VIZHNAY
                                           Deputy United States Marshal
                                           United States Marshals Service

Sworn to before me by telephone
this 24th day of April, 2024


____________________________________
HONORABLE ROBERT M. LEVY
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK




                                              3
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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                 __________   Districtofof
                                                                        New  York
                                                                           __________

                  United States of America
                             v.                                    )
                                                                   )        Case No.
                         JUAN TEJEDA                               )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      JUAN TEJEDA, D.O.B. 09/26/2000                                                                     ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information        u Superseding Information             ✔ Complaint
                                                                                                                     u
u Probation Violation Petition             u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Title 18, United States Code, Section 751(a) (escape)




Date:         04/23/2024
                                                                                          Issuing officer’s signature

City and state:       Brooklyn, NY                                              The Honorable Robert M. Levy, U.S.M.J.
                                                                                            Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                         Arresting officer’s signature



                                                                                            Printed name and title
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AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
